Case 9:00-cr-08037-DTKH Document 29 Entered on rEg blr oT ATES DIST FH eGQURT
SOU RN DISTRICT OF FLORIDA

UNITLD STATES OF AMERICA,

Plaintiff, APPEARANCE BOND:
. CASE NO.: 00-8037-CR-HURLEY / JOHNSON
Detendant,
_THOMAS PEARL

i. the undersigned defendant and for we, the undersigned sureties jointly and severally acknowledge that we and
our personal representatives, jointly and severally, are bound to pay to the United States of America, the sum of

5 _._.PSB (NO DOLLAR AMOUNT)

STANDARD CONDITIONS OF BOND

 

The conditions of this bond are that the defendant:

1. Shall appear before this court and at such other places as the defendant may be required to appear, in accordance
with any and allorders and directions relating to the defendant's appearance in this case, includin appearance
for violation of a condition of the defendant's release as max he ordered or notified by _taifbougbor any other
United States District Court to which the defendant may ‘be held to answer or the “chuse transferred. The
defendant is to abide by any judgment entered in such matter by surrendering to sery e. ny ‘senénce. imposed
and obes ing any order or direction in connection with such judgment. Thisisa continuing bond, ‘in, includi gant
proc ecding vn appeal or resiew, which shall remain in tull force and effect until such {ime as the court shall

OQ, ——

Mas notatany time. for ans reason whatever, leave the Southern District of Llorida or other. District to wh

the Case mas be remus cd of te ansferred after he or she has appeared in such District pursuget to the-condition

oft this bond, without first obtaining written permission from the court, except that ¥ Fend gh it ordered

reinosed or transferred to another district may travel to that district as required for Court appearances and trial

preparation upon written notice to the Clerk of this Court or the court to which the case has been removed or
transterred. The Southern District of Florida consists of the follow ing Counties: Monroe, Dade, Broward, Palm

Beach, Martin. St. Lucie, Indian River, Okeechobee, and Highlands.

    
   
 

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3. Mas not change his or her present address as recorded on this bond without prior permission in writing from
the court. The defendant's present address is:

1233 THE POINTE DRIVE
‘WEST PALM BEACH, FL. 33409

4. Is required to appear ia Court at all times as required by notice piven by the court or its clerk to the address on
tins bond or inopencetirtos tothe address as changed by pernission from the court. The defendant is required
toy ascertain from the Clerk of Court or defense Counsel the Gime and place of all scheduled proceedings on the
one nnpoeventmas adefendant assume that his or her case has been dismissed unless the court has entered an

user of disuissal.

45. Shail not commit any act in violation of state or federal law.

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WHIeti to Court file
BIUP to defendant
GREEN to Assistant US. Attorneys
YELLOW to Counsel \
PINK to ULS. Marshal SD/FM-2
GOLD to Pretrial Services REV.7/90  \ (\

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SPECIAL CONDITIONS OF BOND

In addition to compliance with the previously stated conditions of bond, the defendant must comply with those special
conditions checked below:

a. Surrender all passports and travel documents to the Pretrial Services Office of the Court.

Xb. Report to Pretrial Services as follows: DAILY AND IN PERSON IF REQUIRED

 

 

— c. Submit to random urine testing by Pretrial Services for the use of non-physician-prescribed substances
prohibited by law.

— d. Maintain or actively seek full-time gainful employment.

 

 

—_ e. Maintain or begin an educational program.

— f, Avoid all contact with victims of or witnesses to the crimes charged.

— g. Refrain from possessing a firearm, destructive device or other dangerous weapon.

— h. Comply with the following curfew:

Xx ij Comply with the following additional special conditions of this bond: DEFT. MUST ATTEND MENTAL HEALTH

 

COUNSELLING AT 45TH, i REQUIRED , FATHER MUST BE WITH DEFT. AT ALL TIMES EXCEPT WHEN

 

PENALTIES AND SANCTIONS APPLICABLE TO DEFENDANT

 

Violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for the
defendant’s arrest, a revocation of release, an order of detention, as provided in 18 U.S.C. 3148, forfeiture of any bail
posted, and a prosecution for contempt as provided in 18 U.S.C. 401 which could result in a possible term of
imprisonment or a fine.

The commission of any offense while on pretrail release may result in an additional sentence upon conviction for such
offense to a term of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not
more than one year, if the offense is a misdemeanor. This sentence shall be consecutive to any other sentence and must be
imposed in addition to the sentence received for the offense itself.

Title 18 U.S.C. 1503 makes it a criminal offense punishable by up to five years of imprisonment and a $250,000 fine to
intimidate or attempt to intimidate a witness, juror or officer of the court; 18 U.S.C. 1510 makes it a criminal offense
punishable by up to five years of imprisonment and a $250,000 fine to obstruct a criminal investigation; 18 U.S.C. 1512
makes it a criminal offense punishable by up to ten years of imprisonment and a $250,000 fine to tamper with a witness,
victim or informant; and 18 U.S.C. 1513 makes it a criminal offense punishable by up to ten years ofimprisonment and a
$250,000 fine to retaliate against a witness, victim or informant, or threaten or attempt to do do.

It is a criminal offense under 18 U.S.C. 3146, if after having been released, the defendant knowingly fails to appear as
required by the conditions of release, or to surrender for the service of sentence pursuant to a court order. If the
defendant was released in connection with a charge of, or while awaiting sentence, surrender. for the service of a
sentence, or appeal or certiorari after conviction, for:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more the
defendant shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for aterm of five years or more, but less than fifteen years, the defendant
shall be fined not more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony, the defendant shall be fined not more than $250,000 or imprisoned not more than two years, or
both;

(4) a misdemeanor, the defendant shall be fined not more than $100,000 or imprisoned not more than one year, or
both.

A term of imprisonment imposed for failure to appear or surrender shall be consecutive to the sentence of imprison-
ment for any other offense. In addition, a failure to appear may result in the forfeiture of any bail posted, which means
that the defendant will be obligated to pay the full amount of the bond, which may be enforced by all applicable laws of
the United States.

DISTRIBUTION:
WHITE to Court file
BLUE to defendant
GREEN to Assistant U.S, Attorney
YELLOW to Counsel
PINK to U.S. Marshal
FENDANT:

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PENALTIES AND SANCTIONS APPLICABLE TO SURETIES

 

Violation by the defendant of any of the foregoing conditions of release will result in an immediate obligation by the
surety or sureties to pay the full amount of the bond. Forfeiture of the bond for any breach of one or more conditions
may be declared by a judicial offficer of any United States District Court having cognizance of the above entitled
matter at the time of such breach, and ifthe bond is forfeited and the forfeiture is not set aside or remitted, judgement
may be entered upon motion in such United States District Court against each surety jointly and severally for the
amount of the bond, together with interest and costs, and execution may be issued and payment secured as provided
by the Federal Rules of Criminal Procedure and other laws of the United States.

SIGNATURES

I have carefully read and | understand this entire appearance bond consisting of three (3) pages, or it has been read
to me, and, if necessary, translated into my native language, and I know that | am obligated by law to comply with all
of the terms of this bond. I promise to obey all conditions of this bond, to appear in court as required, and to
surrender for service of any sentence imposed. | am aware of the penalties and sanctions outlined in this bond for
violations of the terms of the bond.

If | am an agent acting for or on behalf of a corporate surety, I further represent that [ama duly authorized agent
for the corporate surety and have full power to exccute iis bund in the amount stated.

 

 

 

 

 

 

 

 

 

 

 

 

_DEFENDANT
Signed this 13 day of __. _ JUEY xxx 2009, co ER. . Florida.
Signed and acknowledged before me: DEFFNDANT: (Signature) Bow [en (eet
WITNESS: appress: 233) Ae fe. age AT _
ADDRESS: fet feo here b FA zip 33 7e9
oP J TELEPHONE: (xi) E69 FRROTY
CORPORATE SURETY
Signed this________ day of ,19 vat ,s* Florida.
SURETY: AGENT: (Signature) _
ADDRESS: ee DRG NAGLE: —__
a _. ZIP: TELEPHONE: _.. a
INDIVIDUAL SURETIES
Signed this day of 2 Ld att nC Pri.
SUREFY: (Signature) _... wee SURETY: (Signature) _
PRINT NAME: ee em PRINT NAME: wa ee.
RELATIONSHIP RELA HONSHIP
TO DEFENDANT: WU oo. TO DEFENDANT:
ADDRESS: _ - - ADDRESS: __._
TELEPHGNE: 200 0 Lee TELEPHONE:

 

APPROVAL BY GO ot)

 
 
  

, Me by Cen nke,

UNITED STATES MAGISTRATE JUDGE

 

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YELLOW to Counsel
PINK to U.S. Marshal
GOLD to Pretrial Services —3-—

 
